Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 1 of 31




              EXHIBIT 1
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 2 of 31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 3 of 31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 4 of 31




                                                                               Jan 16, 2024




   Angie Crespo
   Angie@adcmiami.com
   786-515-8747



   Re: Alberico A. Crespo
   case number 21-cr-20005



   To: The Honorable Judge Darrin P. Gayles

   I am shaken by how difficult this letter is for me to write. I was told that you may need
   it to better understand my little brother (Alberico A. Crespo). I wish there was an ideal
   place to begin. But where does one start when a loved one's life is laid across
   someone else's table?

   What keeps me loving him (Alberico A. Crespo) unconditionally is the fact that he is
   good person that came from a single mother's home with 4 children that she raised
   by herself with discipline, honesty, respect & humbleness most of all. Later on, in our
   life a man of impeccable character who I take pride to call my father (Jonas Rodriguez
   -RIP) came into our life and teaches us high standards in life (which in reality is our
   stepfather) since our dad die at age 52 from liver failure due to Alcoholism, when
   Alberico A. Crespo was only 11yrs old. I feel sad to write this to you, because it seems
   so contradictory, looking at what actually took place. However, it is the truth and it
   keeps me alive and always respectful towards others. I wish more than anything that
   you, the Honorable Judge who decides his fate, could know him (Alberico A. Crespo)
   Like I do. So, a little bit of the Alberico A. Crespo that I know is where I will begin.

   Growing up with Alberico as a big sister I always admired how compassionate,
   helpful, respectful and always willing to help others, including his father who was
   missing a leg & always dealing with alcoholism, we (Alberico A. Crespo & Myself)
   became the parent to my dad till the day he died, at a very young age.

   I believed Alberico A. Crespo's divorce, his daughter moving away, having my
   stepfather (our 2 nd Dad) very ill (which he passed away on Nov 6, 2023) and my
   mother very ill too with AR stage 4, all those events in his life took him to
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 5 of 31




   unrecognized depression, he felt alone, hopeless and lost without the guiding from
   his parents being so ill, of course I was there for him, but Alberico wanted to be
   strong for the family, neglecting his needs & his mental health and putting everyone
   else first, been who he is a selfless person . Alberico A. Crespo loss the sense of his
   needs, and in the process, he lost his path/direction in life.

   While it is unfortunate that he has made some bad decisions, thus resulting in this
   case. I'm going to beg you Honor as a big sister for your leniency in sentencing of
   Alberico A. Crespo and plea that your sentence be merciful and not so punitive.

   Alberico A. Crespo spending period of time incarcerate would only be a detriment
   to my family, his children and his mental health.

   I thank you so much for taking the time to read this letter and God bless,

   Sincerely,
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 6 of 31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 7 of 31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 8 of 31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 9 of 31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 10 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 11 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 12 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 13 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 14 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 15 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 16 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 17 of
                                      31



   Gregory Martinez
   14110 SW 45 Street
   Miami, FL 33175
   01/18/2024
   The Honorable Judge Darrin P. Gayles
   Re: Sentencing of Alberico Crespo
   Dear Judge Gayles,
   I hope this letter finds you well. I am writing to you today on behalf of my brother-in-law,
   Al Crespo, who is soon to be sentenced for crimes he was found guilty of committing. I
   understand that Al’s actions have brought him before your court, and I am not writing to
   dispute his culpability. Instead, I wish to shed some light on the remarkable life he has
   led, and the profound impact his incarceration will have on those who depend on him.
   Al has dedicated the past 27 years of his life to various forms of law enforcement. He
   has demonstrated unwavering commitment to upholding the law and protecting our
   communities. He is an honorable, decent, and god fearing man. His journey, from the
   Air Force, to a police officer to a DEA agent and, most recently, as an agent for the
   Department of HHS OIG, stands as a testament to his dedication and integrity in the
   field of law enforcement. His personal relationships, circle of friends, family, and loved
   ones will all attest to the positive impact he has had on each and every one of us.
   It is crucial to emphasize that the charges against Al do not reflect a pattern of
   intentional wrongdoing on his part. Rather, they stem from a grave error in judgment. A
   lapse in reason. And what will surely be the biggest mistake of his life. Al’s immense
   trust and admiration for Jorge were exploited, resulting in the regrettable situation
   before us.
   The consequences of this single mistake have been devastating. Al’s life, career,
   livelihood, and freedom now hang in the balance. He is not merely a statistic or a case
   number; he is a good person who has positively impacted countless lives, including his
   family, friends, and colleagues.
   Al’s family, including my sister, his children, and extended family, depend on him
   emotionally, financially, and for the love and support he provides. His absence will
   create an irreplaceable void that cannot be measured by mere words. His friends and
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 18 of
                                      31



   colleagues in law enforcement speak to his character and the positive influence he has
   had within the community.
   I humbly implore your compassion, leniency, and understanding as you consider Al’s
   sentencing. While he accepts responsibility for his actions, I ask that you also consider
   the gravity of the collateral damage that a harsh sentence would inflict on those who
   care deeply for him.
   In closing, I ask you, Your Honor, to weigh the totality of Al’s life, his contributions, and
   the love and support he provides to those around him when determining an appropriate
   sentence. I believe that a fair and compassionate judgment will not only serve justice
   but also preserve the hope of redemption for a man who has given so much to his
   community and his country. Please, I beg of you to think of us; all of us who care so
   deeply for Al, before you decide his fate which is now in your hands.
   Thank you for your time and consideration.
   Sincerely,
   Gregory Martinez
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 19 of
                                      31




   To whom it may concern


   My name is Natalia M Lopez, I was Alberico Ahias Crespo mother-in-law for 21 years. I have
   known Alberico since 1997, he has always shown a very correct behavior, respectful, always
   helping others, no mater race, sex, color, ethnic origin, gender, age, sexual orientation or religion.

   He has been a person who repeatedly risked his like to take care of this country and its citizens.
   Not only during his years with the Hialeah Police Department, but during his years in the Air
   Force and as a Federal Agent. He has always behaved as humanly possible, always fulfilling all
   the assignments he has had to face with integrity and honor. I do not believe he is guilty of
   everything he is accused of, I understand that unfortunately, there are many people who would
   do anything, say or fabricate any kind of lies to help themselves and harm others.

   I believe and would like for this case to be analyzed and all Alberico’s merits taken into
   consideration when determining his sentence. He has a daughter who is going through a lot of
   pain to see his father who has always helped others go through this painful situation and would
   be devastated to not see him. I highly ask for him to be allowed to do his sentence at home, so
   his daughter can at least see him and spend time with him.

   I am available for any questions you may have in reference to Alberico Crespo, you can call me
   at 786-877-4216.


   Gratefully,

   Natalia M Lopez
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 20 of
                                      31




   To whom it may concern
   My name is Irene Leon, I am Alberico Ahias Crespo ex-wife and would like to talk a little bit
   about Mr. Crespo.
   Always since early age, Alberico Crespo has been against crime and injustice, he has always
   been a person willing to help others; of course, always doing what’s right. His love for justice,
   people and this country inspired him to join the Air Force right after High school. This is where
   his journey of fighting crime and risking his life for other begins.
   We meet in 1997, since then, I have always admired Mr. Crespo’s integrity and love for people
   and this country. He was a very respected Police Officer for the City of Hialeah, always fighting
   for what is right, always against crime, drugs and everyone breaking the law.
   During our time together, while he was with the City of Hialeah, I witnessed; in several
   occasions, how he risked his life to save others, a perfect example is when he went into a burning
   house full of flames to save someone’s lives, he did not think twice about risking his life, all he
   thought at that time was to save a life he didn’t even know. During his years as a Detective with
   the Hialeah Police Department, he worked on different task forces to include gangs, drugs and
   MOST (Multiple Offender Surveillance Team), always fighting crime and making sure that
   everyone was safe.
   In 2006 he became a Federal Agent with the division of Drug Enforcement Administration, he
   traveled as an undercover agent to many countries, fighting criminal drug networks; again, not
   only risking his life, but risking his family’s life too, always putting the life and safety of others
   over his own. Always available to help other teams, willing to help at all times.
   We have a beautiful 13-year-old daughter who loves her dad dearly, she has been devastated and
   under a lot of stress with all this situation and would be thrilled if she is allowed to face time
   with him daily instead of not seeing him for a long time. It is why I greatly ask the judge to
   please allow him to stay in house arrest and maybe do community hours instead of sending him
   to jail.
   Living with him so many years, being next to him and witnessing how he cares for this country
   and others, just like I told the prosecutor when he contacted me back in 2020 “I would put my
   hands on the fire that I do not believe Mr. Crespo is guilty of everything he is accused of”. He
   has always been an outstanding citizen and does not deserve to go to jail with real criminals.
   If I can be of any help in determining his sentence, please feel free to contact me at 305-978-
   4932. I will be more than happy to answer any questions.


   Respectfully,
   Irene Leon
     Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 21 of
                                           31
     Diana Viera
     14110 SW 45 Street
     Miami, FL 33175
     9/11/2023
     The Honorable Judge Darrin P. Gayles

     Re: Sentencing Leniency Request for Alberico Crespo

     Dear Judge Gayles,

     I never thought I would have ever been in this position to write a letter to defend a man that has
     almost killed himself for this country. As I struggle to nd the right words, I hope this letter helps
     you to see who Al Crespo truly is as a man of honor and respect to his friends and family but also
     this country we all are standing in. This is not something anybody should take lightly because the
     courage and dedication and sacri ce its takes to do what Al has done is not easy and I can tell
     you that out of everyone I know, he’s the only that has done any of it.
                                                 fi
     Al Crespo, my friend and what I consider family, is a person that I truly look up to and someone I
     go to for advice. I know Al because he is my husband’s sister’s ancé and I don’t know the
                             fi
     technical word for what he is to me but he’s my like my brother and together we share an
     amazing family together. For all the years he has been with Samantha we have spent so many
     moments together. Every moment has brought us closer and closer together and for that I am so
     grateful. I can say I know he talks a lot but really he just means the best in every way. His
                                                             fi
     intentions are always true. True of love, of care, and that’s just him being Al. Your honor, I wish
     you knew who he is, who he represents to his family and you would see this whole trial so
     differently. Because If you knew him, you would see how his intentions would be misconstrued.

     I know for a fact that the consequences of AL’s actions have weighed heavily on him, and I know
     he understands the gravity of the situation. I ask you to please consider the broader context of
     Al’s life and career when making your sentencing decision. I ask that you look deeply into all the
       les, the history, the actual proof, and see if from a different point of view. I hope you see in his 27
     years of service how he has positively impacted countless lives.

     The devastation of incarceration will extend far beyond Al himself. His family, especially his
     children, will suffer the absence of a loving father and provider. Friends like myself will miss his
fi
     unwavering support. Please consider that you are not only sentencing Al; you are sentencing all
     of us.
     I ask for your sympathy, compassion, and understanding as you deliberate on his fate. Please.

     Furthermore, I kindly request, if at all possible, that Al be allowed to serve his sentence at home.
     And if not then at least close to home. This will allow his family, friends, and support network to
     visit him regularly, offering the emotional and moral support that will be crucial during these trying
     times. Al has always been there for us, and we wish to reciprocate the love and support back to
     him in his time of need.

     There are not enough words I can say that can truly say everything that Al represents. I hope you
     see it in your heart and I hope you see it the truth as well. And together I pray day and night for
     your consideration.

     Thank you very much,




     Sincerely,
     Diana Viera
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 22 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 23 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 24 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 25 of
                                      31


   Your Honor,

   I have been blessed to know Al for the past 8 years, he has shown me
   nothing but respect, loyalty and love.

   He is the man that would give you his last dollar if he knew you needed to
   eat, he would give you the shirt off his back if he knew you were cold.

   Al is and has been the best son, husband, father and sibling anyone could
   ask for.
   If someone needed help, under any circumstances they would come to Al
   because he would always come through for them and they knew it.

   As you heard in the trial, he went to Puerto Rico after hurricane Maria to
   help his co-worker do what needed to be done.

   Al honored the United State Law Enforcement’s codes of honor when he swore
   in as a Military Police in the Air Force. Hialeah Police Department, DEA,
   OIGHHS, because it’s all believed in, it’s all he wanted to do in his life
   was uphold the law and what it stands for.

   I believe that Al has more than served his sentence with the 3 1/2 years
   that he has been under scrutiny, his not being able to work, and live his
   life as a free American because of his unfortunate mistake, after all he
   is human, and whatever mistake he made, it was made innocently, not being
   aware that it would get him where he is today.

   Respectfully,

   Rosa Papper
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 26 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 27 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 28 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 29 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 30 of
                                      31
Case 1:21-cr-20005-DPG Document 311-1 Entered on FLSD Docket 01/21/2024 Page 31 of
                                      31


   Honorable Judge D. Gayles

           My name is Taleah Crespo, I am 13 years old. My dad is Alberico Ahias Crespo. I would like to ask
   your honor to please not send my dad to jail. If your honor ﬁnds it in your heart, please leave him home
   in house arrest. I understand you must punish my dad. I need to be able to face �me with him every day
   and if he is in jail, it will be impossible. Please don’t take my dad away from me.

   He was always an excellent police oﬃcer, detec�ve and federal agent. Always risking his life to protect
   everyone and making sure that everyone follows the law. He taught me to be honest and do the right
   thing at all �mes no mater what. My dad enlisted in the Air Force and served this country his en�re
   adult life, please take all this into considera�on and let my dad stay in house arrest.

   I’m sure his mistakes were human mistakes which we all make. Please don’t forget he was always ﬁgh�ng
   against drugs and criminals. Please help me keep my dad home.



   Thank you

   Taleah Crespo
